                       Case 1:23-mi-99999-UNA Document 2897-3 Filed 09/08/23 Page 1 of 2
JS44 (Rev. 1/13 NDGA)                        CIVIL COVER SHEET
The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)


I. (a) PLAINTIFF(S)                                                                            DEFENDANT(S)
 ANDRE R. JOHNSON                                                                           THE KROGER CO.



  (b) COUNTY OF RESIDENCE OF FIRST LISTED                                                     COUNTY OF RESIDENCE OF FIRST LISTED
         PLAINTIFF FULTON                                                                     DEFENDANT OHIO
                          (EXCEPT IN U.S. PLAINTIFF CASES)                                                        (IN U.S. PLAINTIFF CASES ONLY)

                                                                                               NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF
                                                                                               LAND INVOLVED


  (c) ATTORNEYS (FIRM NAME, ADDRESS, TELEPHONE NUMBER, AND                                     ATTORNEYS (IF KNOWN)
                                   E-MAIL ADDRESS)
 Paul I. Hotchkiss, Esq.                                                                    Matthew G. Moffett, Esq.
 Maggie L. Stewart, Esq.                                                                    Marc Hood, Esq.
 Hotchkiss Law Firm, LLC                                                                    Gray, Rust, St. Amand, Moffett & Brieske, LLC
 185 E. Lake Ter. SE                                                                        950 East Paces Ferry Road
 Atlanta, Georgia 30317                                                                     Suite 1700 - Salesforce Tower Atlanta
 (706) 424-1013                                                                             Atlanta, GA 30326
 paul@hotchkisslawfirm.com                                                                  (404) 870-7390 (Moffett); (404) 870-1070: (Hood)
 maggie@hotchkisslawfirm.com                                                                Emails: mmoffett@grsmb.com; mhood@grsmb.com


II. BASIS OF JURISDICTION                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES
      (PLACE AN “X” IN ONE BOX ONLY)                                                 (PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
                                                                                                      (FOR DIVERSITY CASES ONLY)

                                                                             PLF      DEF                                  PLF      DEF

   1 U.S. GOVERNMENT
     PLAINTIFF
                                 3 FEDERAL QUESTION
                                   (U.S. GOVERNMENT NOT A PARTY)
                                                                           ■    1       1   CITIZEN OF THIS STATE             4        4    INCORPORATED OR PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN THIS STATE

   2 U.S. GOVERNMENT
     DEFENDANT
                          ■      4 DIVERSITY
                                  (INDICATE CITIZENSHIP OF PARTIES
                                                                                2       2   CITIZEN OF ANOTHER STATE          5
                                                                                                                                  ■     5   INCORPORATED AND PRINCIPAL
                                                                                                                                            PLACE OF BUSINESS IN ANOTHER
                                   IN ITEM III)                                                                                             STATE
                                                                                3       3   CITIZEN OR SUBJECT OF A
                                                                                            FOREIGN COUNTRY                   6        6    FOREIGN NATION




IV. ORIGIN (PLACE AN “X “IN ONE BOX ONLY)
                                                                                                TRANSFERRED FROM                                      APPEAL TO DISTRICT JUDGE
   1 ORIGINAL
     PROCEEDING
                   ■2 STATE
                      REMOVED FROM
                            COURT
                                              3 REMANDED FROM
                                                APPELLATE COURT
                                                                       4 REINSTATED OR
                                                                         REOPENED
                                                                                              5 ANOTHER DISTRICT
                                                                                                  (Specify District)
                                                                                                                          6 MULTIDISTRICT
                                                                                                                            LITIGATION
                                                                                                                                                    7 FROM MAGISTRATE JUDGE
                                                                                                                                                      JUDGMENT


V. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                             JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Removal under 28 U.S.C. § 1332 and 28 U.S.C. § 1441(a) Diversity jurisdiction premises liability tort
case


(IF COMPLEX, CHECK REASON BELOW)

        1. Unusually large number of parties.                                       6. Problems locating or preserving evidence

        2. Unusually large number of claims or defenses.                            7. Pending parallel investigations or actions by government.

        3. Factual issues are exceptionally complex                                 8. Multiple use of experts.

        4. Greater than normal volume of evidence.                                  9. Need for discovery outside United States boundaries.

        5. Extended discovery period is needed.                                     10. Existence of highly technical issues and proof.


                                                                    CONTINUED ON REVERSE
FOR OFFICE USE ONLY

RECEIPT #                          AMOUNT $                                         APPLYING IFP                                    MAG. JUDGE (IFP)


JUDGE                              MAG. JUDGE                                       NATURE OF SUIT                                 CAUSE OF ACTION                 _
                                                       (Referral)
          Case 1:23-mi-99999-UNA Document 2897-3 Filed 09/08/23 Page 2 of 2
VI. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT - "0" MONTHS DISCOVERY TRACK            CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK                  SOCIAL SECURITY - "0" MONTHS DISCOVERY
       150 RECOVERY OF OVERPAYMENT &                   441 VOTING                                           TRACK
            ENFORCEMENT OF JUDGMENT                    442 EMPLOYMENT                                             861 HIA (1395ff)
       152 RECOVERY OF DEFAULTED STUDENT               443 HOUSING/ ACCOMMODATIONS                                862 BLACK LUNG (923)
            LOANS (Excl. Veterans)                     444 WELFARE                                                863 DIWC (405(g))
       153 RECOVERY OF OVERPAYMENT OF                  440 OTHER CIVIL RIGHTS                                     863 DIWW (405(g))
            VETERAN'S BENEFITS                         445 AMERICANS with DISABILITIES - Employment               864 SSID TITLE XVI
                                                       446 AMERICANS with DISABILITIES - Other                    865 RSI (405(g))
CONTRACT - "4" MONTHS DISCOVERY TRACK                  448 EDUCATION
       110 INSURANCE                                                                                        FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
       120 MARINE                                IMMIGRATION - "0" MONTHS DISCOVERY TRACK                   TRACK
       130 MILLER ACT                                   462 NATURALIZATION APPLICATION                            870 TAXES (U.S. Plaintiff or Defendant)
       140 NEGOTIABLE INSTRUMENT                        465 OTHER IMMIGRATION ACTIONS                             871 IRS - THIRD PARTY 26 USC 7609
       151 MEDICARE ACT
       160 STOCKHOLDERS' SUITS                   PRISONER PETITIONS - "0" MONTHS DISCOVERY                  OTHER STATUTES - "4" MONTHS DISCOVERY
       190 OTHER CONTRACT                                                                                   TRACK
                                                 TRACK
       195 CONTRACT PRODUCT LIABILITY                                                                             375 FALSE CLAIMS ACT
                                                        463 HABEAS CORPUS- Alien Detainee
       196 FRANCHISE                                                                                              400 STATE REAPPORTIONMENT
                                                        510 MOTIONS TO VACATE SENTENCE
                                                        530 HABEAS CORPUS                                         430 BANKS AND BANKING
REAL PROPERTY - "4" MONTHS DISCOVERY                    535 HABEAS CORPUS DEATH PENALTY                           450 COMMERCE/ICC RATES/ETC.
TRACK                                                   540 MANDAMUS & OTHER                                      460 DEPORTATION
       210 LAND CONDEMNATION                            550 CIVIL RIGHTS - Filed Pro se                           470 RACKETEER INFLUENCED AND CORRUPT
       220 FORECLOSURE                                  555 PRISON CONDITION(S) - Filed Pro se                         ORGANIZATIONS
       230 RENT LEASE & EJECTMENT                       560 CIVIL DETAINEE: CONDITIONS OF                         480 CONSUMER CREDIT
       240 TORTS TO LAND                                     CONFINEMENT                                          490 CABLE/SATELLITE TV
       245 TORT PRODUCT LIABILITY                                                                                 891 AGRICULTURAL ACTS
       290 ALL OTHER REAL PROPERTY                                                                                893 ENVIRONMENTAL MATTERS
                                                 PRISONER PETITIONS - "4" MONTHS DISCOVERY
                                                                                                                  895 FREEDOM OF INFORMATION ACT
                                                 TRACK                                                            950 CONSTITUTIONALITY OF STATE STATUTES
TORTS - PERSONAL INJURY - "4" MONTHS                    550 CIVIL RIGHTS - Filed by Counsel                       890 OTHER STATUTORY ACTIONS
DISCOVERY TRACK                                         555 PRISON CONDITION(S) - Filed by Counsel                899 ADMINISTRATIVE PROCEDURES ACT /
       310 AIRPLANE                                                                                                  REVIEW OR APPEAL OF AGENCY DECISION
       315 AIRPLANE PRODUCT LIABILITY            FORFEITURE/PENALTY - "4" MONTHS DISCOVERY
       320 ASSAULT, LIBEL & SLANDER              TRACK                                                      OTHER STATUTES - "8" MONTHS DISCOVERY
       330 FEDERAL EMPLOYERS' LIABILITY                 625 DRUG RELATED SEIZURE OF PROPERTY                TRACK
       340 MARINE                                            21 USC 881                                           410 ANTITRUST
       345 MARINE PRODUCT LIABILITY                     690 OTHER                                                 850 SECURITIES / COMMODITIES / EXCHANGE
       350 MOTOR VEHICLE
       355 MOTOR VEHICLE PRODUCT LIABILITY                                                                  OTHER STATUTES - “0" MONTHS DISCOVERY
                                                 LABOR - "4" MONTHS DISCOVERY TRACK
       360 OTHER PERSONAL INJURY
       362 PERSONAL INJURY - MEDICAL
                                                        710 FAIR LABOR STANDARDS ACT                        TRACK
                                                        720 LABOR/MGMT. RELATIONS                                 896 ARBITRATION
            MALPRACTICE
                                                        740 RAILWAY LABOR ACT                                          (Confirm / Vacate / Order / Modify)
       365 PERSONAL INJURY - PRODUCT LIABILITY
     ✔ 367 PERSONAL INJURY - HEALTH CARE/               751 FAMILY and MEDICAL LEAVE ACT
                                                        790 OTHER LABOR LITIGATION
            PHARMACEUTICAL PRODUCT LIABILITY
                                                        791 EMPL. RET. INC. SECURITY ACT
       368 ASBESTOS PERSONAL INJURY PRODUCT
            LIABILITY
                                                 PROPERTY RIGHTS - "4" MONTHS DISCOVERY TRACK
                                                        820 COPYRIGHTS
TORTS - PERSONAL PROPERTY - "4" MONTHS                                                                      * PLEASE NOTE DISCOVERY
                                                        840 TRADEMARK
DISCOVERY TRACK
       370 OTHER FRAUD
                                                                                                              TRACK FOR EACH CASE TYPE.
       371 TRUTH IN LENDING                      PROPERTY RIGHTS - "8" MONTHS DISCOVERY TRACK                 SEE LOCAL RULE 26.3
       380 OTHER PERSONAL PROPERTY DAMAGE               830 PATENT
       385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY - "0" MONTHS DISCOVERY TRACK
       422 APPEAL 28 USC 158
       423 WITHDRAWAL 28 USC 157




VII. REQUESTED IN COMPLAINT:
      CHECK IF CLASS ACTION UNDER F.R.Civ.P. 23
                                                                          Demand is over $75, 000.00
                                                           DEMAND $_____________________________
JURY DEMAND      ■ YES        NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)


VIII. RELATED/REFILED CASE(S) IF ANY
       JUDGE_______________________________                            DOCKET NO._______________________

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
       1. PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       3. VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
       4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME
          BANKRUPTCY JUDGE.
       5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
       6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):



       7. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                              , WHICH WAS
          DISMISSED. This case IS     IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




/s/ Marc Hood, Esq.                                                                                  September 8, 2023
SIGNATURE OF ATTORNEY OF RECORD                                                                  DATE
